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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


UNITED STATES OF AMERICA                        §
                                                §
versus                                          § CRIMINAL ACTION NO. 4:19cr264
                                                §
GARY COLLIN BUSSELL (1)                         §
BEN WESTIN (2)                                  §
SCOTT PERRAS (3)                                §
FRANK ERIC DOCKERY (4)                          §
WILLIAM GRANT ALLBROOK (5)                      §
AUSTIN SEYMOUR (6)                              §
LISA YOUNG (7)                                  §
GEORGE WAGNER, III (8)                          §
GINA CORWIN (9)                                 §
PETER YIN (11)                                  §

                                     PRE-TRIAL ORDER

      This case is set for Final Pre-Trial Conference on     November 9, 2020, at 9:00 a.m.
in Courtroom #105, United States Courthouse, 7940 Preston Road, Plano, Texas. Jury Selection and
Trial will commence after the Pre-Trial Conference and continuing thereafter.
                  16                                         November 9, 2020       44143


     The following deadlines shall apply in this case.

     October 5, 2020            Any motion to suppress evidence shall be filed with the court.


     October 19, 2020           Any motion for continuance shall be filed with the court.


     October 30, 2020           Counsel for the Government shall deliver to counsel for
                                Defendant(s) proposed jury instructions.


     October 19, 2020            Notification of a plea agreement shall be by email, hand delivery
      By 4:00 PM                or fax of a signed copy of the plea agreement and factual basis for
                                the plea. Notification that the case will proceed to trial may be by
                                email or telephone. After this deadline, no plea agreement will
                                be honored by the court, and Defendant may not receive a
                                points reduction for acceptance of responsibility.
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     November 2, 2020               If the parties do not notify the Court of a plea agreement as
                                    provided above, defense counsel shall deliver to counsel for the
                                    Government any additional jury instructions desired by
                                    Defendant(s). If two or more Defendants are represented by
                                    separate counsel, their submission must be made jointly.

     November 2, 2020               Counsel for Defendant(s) and counsel for the Government shall
                                    confer to determine which jury instructions can be agreed upon.

     November 2, 2020               Parties shall file any motions in limine and any other pretrial
                                    motions.


     November 2, 2020               Counsel for the Government and counsel for the Defendant(s) shall:



             A.      Jointly file agreed upon instructions;

             B.      Each file any proposed instructions that were not agreed upon, citing the authority
                     for each instruction. (Any party seeking to file proposed jury instructions after the
                     deadline may do so only with leave of Court.);

             C.      Each file any objections to the other’s proposed jury instructions. Objections must
                     be written, specific, cite authority, and include any alternate instructions counsel
                     deem more appropriate;
         .

             D.      Each file proposed voir dire questions;

             E.      If counsel believes that a written response to a particular motion in limine is
                     needed, file it as soon as possible;

             F.      Each provide the court a list of witnesses, a list of exhibits anticipated to be
                     introduced during trial, and a copy of each marked exhibit. All exhibits to be used
                     for trial shall be pre-marked numerically and in succession. (Groups of exhibits
                     pertaining to the same subject matter, such as photos of same scene, may, at
                     counsel’s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.) Counsel shall
                     provide the Court the original and two (2) copies of each list and marked exhibit.


                  So ORDERED and SIGNED this 11th day of June, 2020.




                                                                    ____________________________________
                                                                    SEAN D. JORDAN
                                                                    UNITED STATES DISTRICT JUDGE
